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                                  20862




                       Exhibit C
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                                  20863



                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, JOHN DOE, and THOMAS
    BAKER,                                                     Civil Action No. 3:17-cv-00072-NKM
                                                                   JURY TRIAL DEMANDED
                                    Plaintiffs,
           v.
    JASON KESSLER, et al.,
                                    Defendants.



                         DECLARATION OF MICHAEL L. BLOCH

           I, Michael L. Bloch, on this 17th day of October, 2021, pursuant to 28 U.S.C. §

    1746, declare as follows:

    1. I am Counsel at the law firm Kaplan, Hecker & Fink LLP (“KHF”), one of the law

       firms representing the Plaintiffs in this action.

    2. I am a member in good standing of the New York State Bar. I am also admitted to

       practice before the U.S. District Court for the Southern District of New York. I have

       been admitted to appear pro hac vice before this Court for and on behalf of the Plaintiffs

       in the above-captioned action.

    3. On September 7, 2021, Defendants Jeffrey Schoep and National Socialist Movement

       filed their witness list, which disclosed that they planned to call a man named Rick

       Eaton to testify at trial as an expert witness. (ECF No. 1046)

    4. On September 14, 2021, my colleague Roberta Kaplan reached out to Mr. Eaton via

       email to notify him that he had been listed as an expert and to inquire whether he
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                                  20864
                                                                        2


       intended to testify at trial. I was copied on this email, a true and accurate copy of which

       is attached hereto as Appendix A.

    5. On September 20, 2021, we received a response from Mr. Eaton, who indicated that he

       had not been retained by Mr. ReBrook, counsel for Defendants Jeffrey Schoep and

       National Socialist Movement, and did not plan on being involved in the above

       captioned matter.

    6. On September 21, 2021, I reached out to Mr. ReBrook by email, forwarding the

       correspondence with Mr. Eaton and asking whether Mr. ReBrook would withdraw Mr.

       Eaton from his witness list.

    7. On September 22, 2021, Defendants Schoep and National Socialist Movement filed an

       amended witness list, in which Mr. Eaton was removed as a witness and Daryl Davis

       was newly listed. (ECF No. 1107)



      Executed on: October 17, 2021                 Respectfully submitted,
      New York, N.Y.


                                                    __________________________________
                                                    Michael L. Bloch
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                                  20865




                   Appendix A
Case 3:17-cv-00072-NKM-JCH Document 1242-3 Filed 10/17/21 Page 5 of 6 Pageid#:
                                  20866


  From:              Michael Bloch
  To:                Charlottesville External; z/Project X – Charlottesville; GRP-Charlottesville
  Subject:           FW: ex: Elizabeth Sines v. Jason Kessler, No. 3:17-cv-00072-NKM
  Date:              Tuesday, September 21, 2021 3:54:59 PM




  Michael Bloch | Kaplan Hecker & Fink LLP
                 ​




  Counsel
  350 Fifth Avenue | 63rd Floor
  New York, New York 10118
  (W) 929.367.4573 | (M) 646.398.0345
  mbloch@kaplanhecker.com


  From: Michael Bloch
  Sent: Tuesday, September 21, 2021 3:55 PM
  To: Edward ReBrook, ESQ <rebrooklaw@gmail.com>
  Subject: FW: ex: Elizabeth Sines v. Jason Kessler, No. 3:17-cv-00072-NKM

  Mr. ReBrook,

  We received the below communication from Rick Eaton, the proposed expert listed on your witness
  list. As you can see, he represents to us that he has not been retained by you and has “no plans to be
  involved.” In addition to the substantial legal barriers to your adding an expert at this late stage, as
  detailed in my September 14 email to you and which we discussed on the phone yesterday, it
  appears to be exceedingly unlikely as a factual matter that Mr. Eaton will be testifying as an expert
  or fact witness in this case. Accordingly, as we requested yesterday, please confirm by the end of the
  day today that you will withdraw Mr. Eaton from your witness list, so that we can avoid unnecessary
  motion practice on this issue. Thanks.

  Michael Bloch | Kaplan Hecker & Fink LLP
                 ​




  Counsel
  350 Fifth Avenue | 63rd Floor
  New York, New York 10118
  (W) 929.367.4573 | (M) 646.398.0345
  mbloch@kaplanhecker.com


  From: Rick Eaton <reaton@wiesenthal.com>
  Sent: Monday, September 20, 2021 3:39 PM
  To: Roberta Kaplan <rkaplan@kaplanhecker.com>
  Cc: Michael Bloch <mbloch@kaplanhecker.com>
  Subject: Re: ex: Elizabeth Sines v. Jason Kessler, No. 3:17-cv-00072-NKM

  EXTERNAL SENDER
  No, I have not been retained and have no plans to be involved.

  Sent from my iPad
Case 3:17-cv-00072-NKM-JCH Document 1242-3 Filed 10/17/21 Page 6 of 6 Pageid#:
                                  20867

          On Sep 14, 2021, at 4:45 PM, Roberta Kaplan <rkaplan@kaplanhecker.com> wrote:

          ﻿
          Dear Mr. Eaton:

          I am writing in connection with the above-captioned matter, set to go to trial in
          Charlottesville next month. I am one of the attorneys for the plaintiffs in the case.

          Your name appears on the attached witness list for trial submitted last week, which
          notes that you are “an expert witness to the activities of the defendants and how they
          operated.”

          If, in fact, you have been retained by Mr. ReBrook or anyone else to testify as an expert
          in this case, please disregard this email.

          I am reaching out because I suspect that you may not be aware that your name
          appeared on the attached list. If that is true, and you have not been retained by
          defendants as an expert in this case, I would appreciate a few minutes of your time to
          discuss.

          Very truly yours,

          Roberta Kaplan | Kaplan Hecker & Fink LLP
                             ​




          350 Fifth Avenue | 63rd Floor
          New York, New York 10118
          (W) 212.763.0883
          rkaplan@kaplanhecker.com



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          the email, please be aware that any unauthorized review, use, disclosure, dissemination, distribution, or
          copying of this communication, or any of its contents, is strictly prohibited. If you have received this
          communication in error, please notify the sender immediately and destroy all copies of the message from
          your computer system. Thank you.
          CAUTION: This is an external email: is it safe?

          <ECF 1046 - ReBrook Witness List.pdf>

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  destroy all copies of the message from your computer system. Thank you.
